Case No. 1:22-cv-02425-LTB   Document 1 filed 09/19/22   USDC Colorado   pg 1
                                    of 7
Case No. 1:22-cv-02425-LTB   Document 1 filed 09/19/22   USDC Colorado   pg 2
                                    of 7
Case No. 1:22-cv-02425-LTB   Document 1 filed 09/19/22   USDC Colorado   pg 3
                                    of 7
Case No. 1:22-cv-02425-LTB   Document 1 filed 09/19/22   USDC Colorado   pg 4
                                    of 7
Case No. 1:22-cv-02425-LTB   Document 1 filed 09/19/22   USDC Colorado   pg 5
                                    of 7
Case No. 1:22-cv-02425-LTB   Document 1 filed 09/19/22   USDC Colorado   pg 6
                                    of 7
Case No. 1:22-cv-02425-LTB   Document 1 filed 09/19/22   USDC Colorado   pg 7
                                    of 7
